     Case 7:18-cr-00008 Document 9 Filed on 12/13/17 in TXSD Page 1 of 1
                                                                         United States District Court
                                                                           Southern District of Texas
                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS                             ENTERED
                           MCALLEN DIVISION                               December 13, 2017
                                                                           David J. Bradley, Clerk




United States of America                   §
                                           §
versus                                     §               Case No. 7:17−mj−02260
                                           §
Urbisio Mungia                             §



                 ORDER OF TEMPORARY DETENTION
          PENDING HEARING PURSUANT TO BAIL REFORM ACT

       Upon motion of the GOVERNMENT, it is ORDERED that a detention hearing is
set for December 18, 2017 at 11:00 AM before United States Magistrate Judge Dorina
Ramos at 1701 W. Bus. Hwy. 83, McAllen, Texas 78501. Pending this hearing, the
defendant shall be held in custody by the United States Marshal and produced for this
hearing.




Date of order: December 13, 2017
